Case No. 1:01-cr-00214-RM Document 3874 filed 01/20/12 USDC Colorado pg 1of2

IN THE UNITED STATES DISTRICT COURT rdi =p
FOR THE WESTERN DISTRICT OF COLORADO UNITED STATES DISiRICT COURT
DENVER, COLORACO
UNITED STATES OF AMERICA, )
) JAN 2° 2912
Plaintiff, )
) GREGORY C. LANGHAM
-vs- No. 1:01-CR-00214 WYD CLERK
SAMMIE WOODS,
Defendant . )

NOTICE OF APPEAL

Sammie Woods, Defendant hereby gives notice of intent to appeal judgment
entered by the U.S. District Court for the Western District of Colorado on
1+12-2012 to the United States Court of Appeals for the Tenth Circuit on this

18th day of Janaury 2012.

Dated: 1-18-2012

" Sammie Ct

ISSUE ON APPEAL

DID THE DISTRICT OOURT ERR IN FINDING THAT DEFENDANT
WAS NOT SENTENCED BASED UPON A SENTENCING RANGE
THAT HAS BEEN LOWERED BY THE SENTENCING COMMISSION?

I. The District Court found that Defendant was sentenced to a mandatory minimm
sentence based on a mistaken belief that he was subjected to an enhanced sen-
tence under §851 based on prior convictions. This was error because there
was no filing of an enhanced sentence under §851 against Defendant. While

such an enhancement had been filed against co~con spirators, the same was

not filed against Defendant.
Case No. 1:01-cr-00214-RM Document 3874 filed 01/20/12 USDC Colorado pg 2 of 2

Respectfully submitted,

: 1-18-2012
sammie Woods 425-01
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